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 6
 7
                         UNITED STATES DISTRICT COURT
 8                      CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
 9
10
11   DENISE O. ZABALA,                      ) Case No.: 2:21-cv-04874-DFM
                                            )
12                                          ) ORDER OF DISMISSAL
                  Plaintiff,                )
13                                          )
           vs.                              )
14                                          )
     KILOLO KIJAKAZI,                       )
15                                          )
     Acting Commissioner of Social
                                            )
16   Security,                              )
                                            )
17                                          )
                  Defendant.                )
18
19
           The above captioned matter is dismissed with prejudice, each party to bear
20
     its own fees, costs, and expenses.
21
           IT IS SO ORDERED.
22
     DATE: October 25, 2021
23                         ___________________________________
                           THE HONORABLE DOUGLAS F. MCCORMICK
24                         UNITED STATES MAGISTRATE JUDGE
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